Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 1 of 9 Page ID #:19044


     1   Douglas E. Lumish (SBN 183863)       Rena Andoh (admitted pro hac vice)
          doug.lumish@lw.com                   randoh@sheppardmullin.com
     2   Gabriel S. Gross (SBN 254672)        SHEPPARD, MULLIN, RICHTER &
          gabe.gross@lw.com                   HAMPTON LLP
     3   Arman Zahoory (SBN 306421)           30 Rockefeller Plaza
          arman.zahoory@lw.com                New York, NY 10112
     4   Ryan T. Banks (SBN 318171)           Telephone: (212) 653-8700
          ryan.banks@lw.com                   Facsimile: (212) 653-8701
     5   LATHAM & WATKINS LLP
         140 Scott Drive                      Lai L. Yip (SBN 258029)
     6   Menlo Park, CA 94025                  lyip@sheppardmullin.com
         Telephone: (650) 328-4600            Four Embarcadero Center, 17th Floor
     7   Facsimile: (650) 463-2600            San Francisco, CA 94111
                                              Telephone: (415) 434-9100
     8 Russell Mangas (admitted pro hac       Facsimile: (415) 434-3947
       vice)
     9  russell.mangas@lw.com                 Travis J. Anderson (SBN 265540)
       LATHAM & WATKINS LLP                    tanderson@sheppardmullin.com
    10 330 North Wabash Avenue, Suite 2800    12275 El Camino Real, Suite 100
       Chicago, Illinois 60611                San Diego, CA 92130
    11 Telephone: (312) 876-7700              Telephone: (858) 720-8900
                                              Facsimile: (858) 509-3691
    12   Attorneys for Defendant and
         Counterclaimant Skyryse, Inc.        Kazim A. Naqvi (SBN 300438)
    13                                         knaqvi@sheppardmullin.com
                                              1901 Avenue of the Stars, Suite 1600
    14                                        Los Angeles, CA 90067
                                              Telephone: (310) 228-3700
    15                                        Facsimile: (310) 228-3701
    16                                        Attorneys for Plaintiff and
                                              Counterdefendant Moog Inc.
    17

    18                      UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
    19

    20    MOOG INC.,                               Civil Action No. 2:22-cv-09094-GW-
                                                   MAR
    21               Plaintiff,
                                                   JOINT REPORT REGARDING
    22         v.                                  MEET AND CONFER ON SEARCH
                                                   TERMS AND REID RAITHEL’S
    23                                             LAPTOP SET FORTH IN THE
          SKYRYSE, INC., ROBERT ALIN
                                                   COURT’S ORDER AT DKT. 611
    24    PILKINGTON, MISOOK KIM, and
          DOES NOS. 1-50,
    25

    26               Defendants.
    27

    28


                                             -1-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 2 of 9 Page ID #:19045


     1         Pursuant to the Court’s final ruling regarding Moog’s Motion to Enforce
     2   dated June 30, 2023 (Dkt. 564) (the “Order”), the Parties’ joint stipulations filed on
     3   July 28, 2023 and August 4, 2023 (Dkts. 588, 589, 596, 598) (the “Stipulations”),
     4   the Parties prior joint report (Dkt. 601), and the Court’s August 24, 2023 minute
     5   order (Dkt. 611), Plaintiff and Counterdefendant Moog, Inc. (“Moog”) and
     6   Defendant and Counterclaimant Skyryse, Inc. (“Skyryse”) (collectively, the
     7   “Parties”) hereby respectfully submit this joint report regarding their meet and
     8   confer efforts to “resolve the [Reid Raithel] computer and search term issues.” This
     9   joint report provides Moog’s and Skyryse’s respective positions regarding all
    10   outstanding issues that have not been agreed upon by the Parties.
    11                                 MOOG’ STATEMENT
    12   I.    Search Terms and Protocols for Skyryse’s Google Drive
    13         A.     Background and Meet and Confer Summary
    14         Regarding searching on Google Drive, the Court’s prior directives issued on
    15   August 23, 2023 (the Courts “Directives”) stated that it would “order Skyryse to
    16   continue investigating the tools that may enable it to search metadata through the
    17   Google Drive Account without having to process the entire repository,” and
    18   “[a]ssuming these methods are unworkable (as Skyryse suggests), the Court would
    19   order Skyryse to: (1) run the final set of search terms against all of the contents and
    20   file names of the files in the Google Drive Account and (2) produce log files for
    21   each of the individuals at issue (Hummingbird personnel, former Moog personnel,
    22   and other identified Skyryse personnel) so that Moog can review and request
    23   production of particular files.” (Ex. A at 4, emphasis in original.) Regarding
    24   Moog’s proposed search terms, the Parties discussed on the record during the
    25   August 24 conference the handful of search terms that Skyryse maintained
    26   objections to.
    27         On August 24, 2023, consistent with the Court’s Directives, Moog requested
    28   that Skyryse: 1) advise by September 1 if it was “able to find a solution such that it


                                                   -2-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 3 of 9 Page ID #:19046


     1   can search metadata through Google Drive without having to process the entire
     2   repository” 2) assuming Skyryse could not find a solution, then Skyryse produced
     3   by September 15 the “file logs for each of the individuals at issue (Hummingbird
     4   personnel, former Moog personnel, and other identified Skyryse personnel) so that
     5   Moog can review and request production of particular files”; and 3) “Skyryse will
     6   run the final set of search terms against all of the contents and file names of the
     7   files in the Google Drive Account,” and begin “producing responsive documents
     8   on a rolling basis on September 8, with the production to be completed by October
     9   27.” (Ex. B at 12-13.) Regarding the search terms, on August 24, 2023, Moog
    10   advised that: 1) it had “already agreed to withdraw ‘Platform’ as a search term
    11   from the Git and Polarion repositories, “resulting in only 8,547 in Google Drive,
    12   with only 8 unique documents”; 2) regarding “Git,” Moog had “already agreed to
    13   narrow this term to (‘Git’ and ‘guide’) across all repositories” resulting in “only
    14   651 total hits, and only 43 unique hits in Google Drive”; 3) regarding “Jira,” Moog
    15   had “already agreed to narrow this term to (‘Jira’ and ‘guide’) across all
    16   repositories” resulting in “only 754 total hits, and only 137 unique hits in Google
    17   Drive”; and 4) Moog would drop the search terms “IO_” and “API_” from all
    18   repositories. (Id.)
    19          On August 30, 2023, Skyryse advised that FTI had arrived at a solution
    20   whereby it could “export all documents from Google Drive identified on the log
    21   files as having been accessed by the Custodians,” whereby the “metadata of these
    22   documents will be searchable.” (Id. at 8-10.) Skyryse then agreed to “run the
    23   agreed list of search terms across all these documents and their metadata and,
    24   assuming the resulting number of hits is reasonable, will perform a relevance and
    25   privilege review of the hits.” (Id.)
    26          The Parties conferred on September 1, 2023, and agreed in principle to
    27   Skyryse’s proposed process. (Id. at 5-6.) Skyryse advised that “FTI cannot
    28   generate updated search term hit counts until it exports and processes all the files


                                                   -3-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 4 of 9 Page ID #:19047


     1   reflected in the File Logs for the Custodians.” (Id.) The Parties agreed to further
     2   confer upon receipt of the updated search term hit counts, to see if any outstanding
     3   issues remained. (Id.)
     4         After multiple follow ups by Moog regarding the status of FTI processing
     5   the data and providing updated search term hit counts, on September 13, 2023,
     6   Skyryse advised that it expects to take until September 15, 2023 “at the earliest
     7   before that data is fully processed and able to be searched.” (Id. at 1.) Therefore, as
     8   of the date of the filing of this joint report, Moog has still not received any further
     9   updated search term hits from Skyryse to see if the Parties can reach agreement on
    10   search terms and the volume of resulting documents.
    11         B.     Requested Relief
    12         It has been several weeks since the prior August 24, 2023 conference, and
    13   the Parties have still not reached any agreement because Skyryse has not processed
    14   the underlying data and provided updated search term hit counts. Moog has been
    15   seeking access to relevant materials on Skyryse’s Google Drive for several months.
    16         Given the delay, Moog respectfully requests that the Court order that: 1)
    17   Skyryse provide an updated list of search term hits to Moog for any search terms
    18   that remain in dispute by September 20, 2023; 2) the Parties confer about those
    19   search term hit counts; and 3) if there remain outstanding issues on certain search
    20   terms, the Parties submit a final joint report on September 25, 2023 setting forth
    21   their positions upon which the Court will make a final ruling without further
    22   hearing.
    23   II.   Reid Raithel’s Skyryse Laptop
    24         The Parties have reached agreement on this issue. The Parties have agreed
    25   that Skyryse will deliver Mr. Raithel’s Skyryse laptop to iDS by September 15,
    26   2023 for iDS to provide a complete, forensic image. If iDS is unable to provide a
    27   complete forensic image, then iDS will extract all of the logical files and folders
    28   from the laptop to a forensic image format and ensure that the extraction is


                                                    -4-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 5 of 9 Page ID #:19048


     1   complete. The image would be subject to a privilege review to be completed within
     2   7 days, or as soon as possible thereafter, from when the image is available.
     3         Moog reserves the right to seek additional relief after reviewing the available
     4   data from Mr. Raithel’s laptop.
     5                              SKYRYSE’S STATEMENT
     6         Pursuant to the Court’s Order, the Parties have continued to meet and confer
     7   and have successfully resolved most of the remaining issues.1 Specifically, the
     8   Parties have agreed on the set of SKY-DOC documents that Skyryse will export
     9   from its Polarion repository. The Parties also have agreed on a procedure to
    10   resolve their dispute regarding Reid Raithel’s Apple laptop. In particular, Skyryse
    11   will provide the physical laptop to iDS for the limited purpose of having iDS create
    12   either a complete forensic image (if it is able to do so) or extract all of the logical
    13   files and folders from the laptop to a forensic image format, to the extent it is able
    14   to do so. Skyryse will also provide the credentials for an Administrator account.
    15   The image or data iDS extracts would be subject to a privilege review.
    16         The parties also have made significant progress on the last remaining issue,
    17   the search terms to be applied to Skyryse’s Google Drive and Git repositories.
    18   Pursuant to the Court’s order, Skyryse continued to investigate “the tools that may
    19   enable it to search metadata through the Google Drive Account without having to
    20   process the entire repository.” (Dkt. 611 at 4.) Although it is not possible to
    21   search metadata within Google Drive, Skyryse worked diligently with its e-
    22   discovery and forensics experts at FTI to come up with an alternative solution.
    23
         1
    24     The parties discussed the following issues: (1) the documents to be exported from
         the Polarion repository, (2) the (now resolved) dispute regarding Mr. Raithel’s
    25   Apple laptop, (3) the set of documents to be searched from Google Drive, and
         (4) the set of search terms to be used, as further described herein. Moog declined
    26   to exchange drafts of the Parties’ positions for this Joint Status Report before
         filing, which given past practice Skyryse believes is essential to an orderly process.
    27   While Moog agreed that it would not raise any issues that the Parties have not
         conferred about, to the extent that Moog raises new issues in this report, Skyryse
    28   was not aware of them in advance and has not had a chance to consider or attempt
         to resolve them.

                                                   -5-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 6 of 9 Page ID #:19049


     1   Specifically, FTI has collected log files2 that identify documents in Google Drive
     2   that have been created, modified, viewed, or accessed by individuals with Google
     3   Drive accounts. The Parties have agreed that Skyryse will collect the documents
     4   identified in the logs for an agreed-upon list of individuals to allow for those
     5   documents, including their metadata, to be searched.
     6         This agreement leaves only a dispute regarding which search terms Skyryse
     7   will use to search the Google Drive documents exported to Relativity, a document
     8   review platform, and the Git repositories. Following the last status conference, the
     9   Court instructed Moog that it should come prepared to the September 18 status
    10   conference to discuss whether it is amenable to Skyryse’s proposal that Moog drop
    11   15 of its 437 proposed search terms and that Skyryse run the remaining 422. (Dkt.
    12   611 at 3.) Moog has largely maintained is position and has only agreed to drop
    13   two of its terms.3 Based on Skyryse’s search of its entire Google Drive, Moog’s
    14   remaining terms still returned an unreasonably burdensome more than 84,000
    15   documents across Google Drive and Git.
    16         To attempt to avoid unnecessary back and forth, however, Skyryse proposed
    17   to table the search terms dispute until the documents identified in the Google Drive
    18   log files could be exported into Relativity and searched. Because that subset of
    19   documents is smaller than the number of documents in the entire Google Drive, it
    20   is possible that the same set of search terms will yield fewer documents that need
    21   to be reviewed in Relativity.4      Therefore, Skyryse proposed that once FTI
    22   completed exporting these documents into Relativity it would re-run both Moog’s
    23   and Skyryse’s proposed sets of search terms against those documents and the
    24

    25
         2
    26   This includes both currently available logs as well as logs FTI collected in April
       2022.
    27 3 Moog had previously agreed to certain modifications of three other terms.

    28 4 It is, however, also possible that the number of documents may be the same or
       even greater, as the metadata is now also being searched.

                                                 -6-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 7 of 9 Page ID #:19050


     1   documents in the Git repositories and provide updated hit counts that both sides
     2   could evaluate.
     3         As soon as Moog confirmed the list of custodians for which it wanted
     4   Skyryse to collect documents from the Google Drive log files, Skyryse instructed
     5   FTI to begin collecting and processing those materials. That is a large project
     6   involving enormous amounts of data that takes days to collect and process. As
     7   Skyryse has previously explained, its Google Drive contains approximately 9.48
     8   TB of data. (Dkt. 601 at 21.) Moreover, the documents identified on the log files
     9   constitute approximately 1 TB of data. The pace at which that data is collected is
    10   limited by the speed of Google’s collection tools. FTI completed that collection on
    11   September 11 and began exporting and processing the data to Relativity. Skyryse
    12   notified Moog that the collection was complete but that processing would take
    13   some additional time. That process takes time because of the large volume of data
    14   that must be exported and processed into Relativity (1 TB) and because many of
    15   those files are zip files that expand during the processing. At present, Skyryse
    16   understands that the processing will not be complete until September 15 at the
    17   earliest, and then FTI can run the search terms across that data. As soon as
    18   Skyryse receives updated hit counts, it will provide them to Moog.            Skyryse
    19   proposes that the parties should meet and confer once those hit counts are available
    20   and attempt to reach a negotiated resolution to this last remaining issue.
    21         For these reasons, the Court should order no further relief at this time.
    22

    23

    24

    25

    26

    27

    28


                                                  -7-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 8 of 9 Page ID #:19051


     1

     2
          Dated: September 14, 2023                SHEPPARD, MULLIN, RICHTER
                                                   & HAMPTON LLP
     3

     4                                             By: /s/ Kazim A. Naqvi
                                                   Counsel for Plaintiff and
     5                                             Counterdefendant Moog Inc.
     6                                             LATHAM & WATKINS LLP
     7
                                                   By: /s/ Gabriel S. Gross
     8                                             Counsel for Defendant and
     9
                                                   Counterclaimant Skyryse, Inc.

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28


                                             -8-
Case 2:22-cv-09094-GW-MAR Document 630 Filed 09/14/23 Page 9 of 9 Page ID #:19052


     1                                    ATTESTATION
     2
               Pursuant to Civil Local Rule 5-4.3.4, I, Kazim A. Naqvi, attest that
     3

     4   concurrence in the filing of this document has been obtained by all its signatories.

     5

     6
         Dated: September 14, 2023                                         /s/ Kazim A. Naqvi
     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28


                                                  -9-
